

Matter of Murphy (2019 NY Slip Op 07833)





Matter of Murphy


2019 NY Slip Op 07833


Decided on October 31, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 31, 2019

PM-176-19

[*1]In the Matter of Mariann C. Murphy, an Attorney. (Attorney Registration No. 2999498.)

Calendar Date: October 28, 2019

Before: Garry, P.J., Devine, Aarons and Pritzker, JJ.


Mariann C. Murphy, Sparta, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Mariann C. Murphy was admitted to practice by this Court in 1999 and lists a business address in Newton, New Jersey with the Office of Court Administration. Murphy now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Murphy's application.
Upon reading Murphy's affidavit sworn to July 18, 2019 and filed July 22, 2019, and upon reading the October 23, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Murphy is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.Garry, P.J., Devine, Aarons and Pritzker, JJ., concur.
ORDERED that Mariann C. Murphy's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is furtherORDERED that Mariann C. Murphy's name is hereby stricken from the
roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is furtherORDERED that Mariann C. Murphy
is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Murphy is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is furtherORDERED that Mariann C. Murphy
shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.









